               Case: 1:17-cv-05672 Document #: 43 Filed: 05/08/18 Page 1 of 2 PageID #:210

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 f: t t.>t1't.         Tanika Ross <tross@student.kcc.edu>
 1.,\'.                "Appenteng, Kwabena A.il <l(Appenteng@littler.com>, "Ena_Ventura@ilnd.uscourts.gov"
                       <Ena_Ventura@ilnd. uscourts.gov>
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Dear .l udge Pallrneyer:
Pt ryour request, I am responding to the def-endants motion to dismiss
my case. However, I would like to take amoment of yourtirne and tell
you a little bit about rnyself, summarize some of the facts of my case and
respectfirlly ask that you not dismiss it.
Your Honor, I was raised parentless. My mom was given Llp as a small
child and the people who raised her molested and rape her rom the time
she was a little girl until she ran away at age 18. As a result of this
happening to her, she met my lather and he used drugs and physically
ahused her too. Slre would later leave him and marry my step father who
also abused her"ancl used dr"ugs as rvell.
My mom was a kind, loving, church going \ryoman. But, she had the
rnind set o{'a srnall child and with that being said. She was fbolish to a
Iot of things. lJltimately, my mom and steph father was murdered due to
nty step father's drug addiction. My father on the other hand abuse drr.rgs
tor over 30 years ol'my lif'e, he is still living today but is slowly dying of
cancer.
I grer,v up knowing something rvas not:right with my family. I couldn't
identif,v witlr anyone. As a result of that I became very introverted. I
strivecl to not be like anyone of them but it was a struggle. For a long
time I rvas stupid. I received bad grades throughout my childhood. I had
to learn on n1y own. I taught myself how to read and write.
I accepted my lifb fbr what it was and eventually, I rvould graduate high
school, grow up and land decentjob, marry my husband, have a couple
kids, give my kids the life I never had, and become proud of the woman
I becanre regardless of rny shortcomings. One rvould sa-v I had very high sell'
csteern hecause I rvas linally.'hap1r,v or at least r.vhole.
    Case: 1:17-cv-05672 Document #: 43 Filed: 05/08/18 Page 2 of 2 PageID #:211



 Norv I start Cigna ancl I arn totalll'excited bec,ause I am irr the rneclical industry and I love
 to help peoplc. I thought per{bct.iob. I rvould prove nr1.'self and rvorl< my way up but that
 tvouldn't be the case. Itrstead, I rvas tortured, ernbarrassed. hurniliated. discrirninated. spit
 on. threatenecl. retaliatec{. teasecl and olten reltrred to as },ou people or stupid.
 I rvoulcl sit through this tbr almost two )iears. 'l'here rvere tirnes rvhere I f'elt like I losirrg
 rnv mind thinkirtg ol'cotritnitting suicide. I rvouldn't because of m1.'kids kisses and hugs
 and thcm telling nte everydal'that the.v love nre. l'lre thought did cross rn.v tnind though. I
 rvas clepressed and in a lot of'etnotionally'and physical pain. I took a lot of rnedication to
 Iecl bctter or just sleep.
 I'm llehting fbr nr1' case because solneone could be going through this and may not be as
 strong as me and the oulcolne might be dif {trent. So" I'm taking a stand an trying to seek
 iusticc because thc1,' corrrnitted a crirne and I rvas the victirn.
 I anr ablc to produce rvitnesses, instant messagcs" emails and other clocumentation to
provs my casc. I also likc to add that lr,hen I u,as ernployed thcre It r\ias a chain o1'
comniand and [].R. rvas not notifled of everything: but after resigning fiorn this
clrganization" I luman ltesources took a stand against the lour people rvho actecl unethical
or uncthical and racist and thel'r.vere all let go r.vithin 60 da1's of nry leave.
Your I lonor my monl clicln't knor.l, a lot but she taught me one valuable thing and to nte it's
the bcst gili she could have giverr me. She taught me to hc kind to everl,one regardlcss ol'
rvho it is or lvhat the1"r,e dorte. She told rne if I ever rvant to go to heaven-iust be kind. So
I carrv tltat ancl I try to live bf it and sometimes it's not eas.v but I keep on tr-ving. So norv
1'our I lotttlr. I ask i{'r,ou lvoultl be so kind ancl let me continue to tight lor rvhat's right.
"l'hank
         1'ou lbr vour time.
[]est rcgards"
'['anika I]e;lrlieu
